

People v Bowen (2023 NY Slip Op 50473(U))



[*1]


People v Bowen (Andre)


2023 NY Slip Op 50473(U)


Decided on May 16, 2023


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on May 16, 2023
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Tisch, Michael, JJ.



570178/22

The People of the State of New York, Appellant,
againstAndre Bowen, Defendant-Respondent.




The People appeal from an order of the Criminal Court of the City of New York, Bronx County (Shari Ruth Michels, J.), dated February 18, 2022, which granted defendant's motion to suppress physical evidence and statements.




Per Curiam.
Order (Shari Ruth Michels, J.), dated February 18, 2022, affirmed.
The court properly granted defendant's suppression motion. There is no basis for disturbing the court's credibility determinations (see People v Prochilo, 41 NY2d 759, 761 [1977]).  The court chose to discredit police testimony because the officer's observations were "plainly belied by what is depicted on the ... [officer's] body-worn camera video as well as ... the I.D.T.U video." That finding was supported by the record and was not manifestly erroneous (see People v Martin, 112 AD3d 453, 454 [2013]; People v Johnson, 21 AD3d 832 [2005]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: May 16, 2023









